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 7
                                 UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9
10                                          SAN JOSE DIVISION

11   NETCHOICE, LLC, d/b/a NetChoice,                      Case No. 5:22-cv-08861-BLF
12                            Plaintiff,                   BRIEF OF ELECTRONIC PRIVACY
13                                                         INFORMATION CENTER, RESET
            v.                                             TECH, FRANCES HAUGEN, AND
14                                                         FORMER GOVERNMENT OFFICIALS
     ROB BONTA, ATTORNEY GENERAL OF                        FOR LEAVE TO SUBMIT BRIEF AS
15   THE STATE OF CALIFORNIA, in his official              AMICI CURIAE IN SUPPORT OF
     capacity,                                             DEFENDANT
16

17                             Defendant.                  Hearing Date: July 27, 2023
                                                           Time: 1:30 p.m.
18                                                         Judge: Hon. Beth Labson Freeman
                                                           Court: Courtroom 1, 5th Floor
19
                                                           Action Filed: December 14, 2022
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 1                                  INTEREST OF AMICI CURIAE1
 2          EPIC is a nonpartisan, nonprofit organization established in 1994 to protect privacy,
 3   freedom of expression, and democratic values in the information age. EPIC’s mission is to
 4   secure the fundamental right to privacy in the digital age for all people through advocacy,

 5   research, and litigation.
 6          Reset Tech aims to reset the connection between media and democracy by countering
 7   the threats posed by digital media monopolies. Reset develops and promotes new ideas to
 8   change policy, engages with governments, supports public campaigns, and funds research to
 9   promote change and offer solutions.
10          EPIC and Reset are joined on this brief by Frances Haugen, Facebook whistleblower and
11   tech expert, as well as a bipartisan group of former elected and appointed officials at both
12   federal and state level, including several from the State of California, united by a commitment
13   to find workable legislative solutions to the digital harms faced by children and young people
14   today. This bipartisan group of amici includes:
15
            Hannah-Beth Jackson (CA)
16          • Former California State Senator and Chair of Senate Judiciary Committee.

17
            Jordan Cunningham (CA)
18          • Former California Assembly member and joint-author of California Age Appropriate
                Design Code Act.
19
            William “Bill” Monning (CA)
20          • Former California State Senator.
21
            Bob Wieckowski (CA)
22          • Former California State Senator and Assembly Judiciary Committee chair and
               member.
23
            Dick Gephardt (US)
24          • Former US Representative for Missouri.
25
26   1
      Amici certify that no person or entity, other than Amici’s own staff or counsel, made a monetary
27   contribution to the preparation or submission of this brief or authored this brief, in whole or in
     part.
28
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 1          Kerry Healey (MA)
            • Former Lieutenant Governor of the Commonwealth of Massachusetts.
 2
            Steve Israel (US)
 3
            • Former US Representative from New York and the Director of the nonpartisan
 4             Institute of Politics and Global Affairs at Cornell University.

 5          Cheri Bustos (US)
            • Former US Representative from Illinois.
 6
            Dan Glickman (US)
 7
            • Former US Secretary of Agriculture, former US Representative from Kansas, and
 8             former director of the Institute of Politics at Harvard University’s John F. Kennedy
               School of Government.
 9
            Chris Shays (US)
10          • Former US Representative from Connecticut.
11
            Linda Douglass (US)
12          • Former Head of Communications for Bloomberg, Senior Vice President at Atlantic
               Media and former Communications Director in the White House’s Office of Health
13             Reform.
14          Admiral Bill Owens
15          • Former Vice Chairman of the Joint Chiefs of Staff and U.S. Navy Admiral.

16
            Amici believe the framework offered by the California Age Appropriate Design Code
17
     (AADC), specifically addressing the risks to children that arise from the data management
18
     practices of online services, including social media, is a sensible and effective means of
19
     confronting tech’s harmful business model. Amici have decades of experience evaluating state
20
     and federal legislative proposals and considering the limits imposed on state law by federal
21
     preemption and the Constitution, and amici believe the AADC's approach to tech regulation is
22
     consistent with Section 230 and the First Amendment. Their ultimate interest here is ensuring
23
     that the Court’s judgment about the AADC is based on a wholistic understanding of how the
24
     statute fits into the broader landscape of privacy and technology regulation.
25
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 1                                          INTRODUCTION
 2          The California Age-Appropriate Design Code (“AADC”) is a landmark piece of
 3   legislation enacted to require platforms to design their services with children’s privacy in mind.
 4   The law imposes certain obligations on companies that use children’s personal information to

 5   profile and target them. The law does not require companies to remove or even demote any
 6   specific content—as long as they do not use children’s data in a way that violates the law,
 7   companies can show users whatever information they like.
 8          Amici offer their particular expertise to counter two of the arguments Plaintiff and their
 9   amici aim at the AADC. First, Section 230 of the Communications Decency Act does not
10   preempt or otherwise bar the law. Section 230 protects companies from publisher liability for
11   content third parties post to their platforms. It does not immunize companies from suits alleging
12   harms traceable to their own conduct. Here, because the AADC regulates platforms’ own
13   conduct—specifically, how platforms use children’s personal information—Section 230 simply
14   does not apply. How companies use personal information is the type of conduct that privacy
15   laws commonly regulate. Section 230 should not be read so broadly as to undermine privacy
16   regulation generally. Moreover, even if Section 230 provided immunity from suits under the

17   AADC, it can only be used as a defense to liability, not as a preemptive facial attack, as Plaintiff
18   attempt here.
19          Second, and relatedly, the data protection and privacy requirements in the AADC do not
20   effect an unlawful prior restraint. To the contrary, the impact assessments required by the
21   AADC are common in regulatory frameworks across the United States and the world, and
22   numerous laws incorporate similar requirements. Indeed, large online platforms and services
23   already undertake data protection assessments, which promote consumer trust. The argument
24   that generally applicable privacy regulations, targeted specifically at mitigating harms to
25   children’s privacy, are unconstitutional would undermine numerous federal and state laws and
26   undermine the state’s compelling interest in protecting the privacy of children.
27

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 1                                                ARGUMENT
 2      I. Section 230 of the Communications Decency Act does not preempt California’s
           ability to regulate how platforms use children’s data, and as a matter of procedure
 3         that argument should not be considered on this posture.
 4
            Congress passed Section 230 of the Communications Decency Act to protect companies
 5
     from liability for the content third parties publish on their platforms. In the years since,
 6
     however, internet companies have repeatedly invoked Section 230 immunity not only in suits
 7
 8   involving publisher liability, but also in suits targeting platforms’ own conduct. Over the last

 9   twenty-five plus years, appellate courts have increasingly rejected such arguments. This Court

10   should similarly reject Plaintiff’s invocation of Section 230 for two reasons: first, Section 230
11   does not preempt the AADC because it explicitly regulates platforms’ own conduct, not any
12
     third-party content. And second, Plaintiff invokes Section 230 at the wrong time—it provides a
13
     defense from liability, not an opportunity for a preemptive facial attack. For either reason, this
14
     Court should reject Plaintiff’s Section 230 arguments.
15
16              A. Section 230 does not immunize platforms in suits about their own conduct.

17          Plaintiff’s Complaint and Motion for Preliminary Injunction invoke the protections of

18   Section 230 without acknowledging key limits to the statute’s application. Section 230

19   immunizes platforms from publisher liability for third-party content. However, when lawsuits

20   concern harms allegedly caused by platforms’ own conduct, Section 230 does not provide

21   immunity. Conduct that includes platforms’ own design choices—such as what data to collect,

22   and how to use that data in designing products—falls outside of the scope of the statute. Courts

23   of Appeals, including the Ninth Circuit, have long distinguished between liability for third-party

24   content and platform conduct under Section 230 in cases addressing possible platform violations

25   of federal, state, and local laws, including anti-discrimination laws, consumer protection laws,

26   and other statutes and ordinances. Indeed, platforms themselves have begun to acknowledge

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 1   this, including most recently Plaintiff NetChoice’s member Google at the oral argument in
 2   Gonzalez v. Google, currently pending at the Supreme Court.
 3          Courts of Appeals have consistently refused to extend Section 230 to shield platforms
 4   from liability for their own intentional conduct. Recently, this Court and the Ninth Circuit have

 5   rejected Section 230 immunity when invoked by platforms in suits addressing the business
 6   practices of the platforms. In Airbnb, Inc. v. City & County of San Francisco, 217 F. Supp. 3d
 7   1066, 1073 (N.D. Cal. 2016), this Court held that an online vacation rental platform could face
 8   liability for violating local ordinances prohibiting unlicensed vacation rentals. The Ninth Circuit
 9   later reached the same result in a similar case. See HomeAway.com, Inc. v. City of Santa
10   Monica, 918 F.3d 676, 683 (9th Cir. 2019). In both of those cases, platform defendants could
11   not invoke Section 230 immunity because the platforms’ alleged conduct that violated the
12   ordinance was not tied to any specific third party-content—the rental listings themselves—at
13   all. The platforms had made decisions about where, how, and to whom to offer listings in ways
14   that violated local law. “[T]he vacation rental platforms did not face liability for the content of
15   their listings; rather liability arose from facilitating unlicensed booking transactions.” Dyroff v.
16   Ultimate Software Group, Inc., 934 F.3d 1093, 1098 (9th Cir. 2019) (discussing and

17   characterizing HomeAway.com). Put more generally, if a platform could modify its own
18   conduct—its data practices, its design of a recommender algorithm, its user features—to comply
19   with applicable law without reference to any specific piece of third-party content, the illegality
20   comes from the platform’s choices, and Section 230 immunity does not apply.
21          Cases involving alleged violations of anti-discrimination law are particularly relevant
22   applications of this rule. In one such case, the Ninth Circuit held that a platform could not
23   invoke Section 230 immunity to defend against claims it had violated anti-discrimination law
24   when it specifically solicited racial preferences from users seeking roommates. Designing a
25   feature that uses personal information about users—such as their race or gender—to decide
26   whether to show them housing ads is “something the law prohibits” in its own right. Fair
27   Housing Council v. Roommates.com, 521 F.3d 1157, 1167 (9th Cir. 2008) (en banc). Federal

28
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 1   agencies agree that platforms that use information about a person’s membership in a protected
 2   class to target ads in violation of anti-discrimination law do not enjoy Section 230 immunity.
 3   See, e.g., HUD. v. Facebook, Charge of Discrimination, FHEO No. 01-18-0323-8 at 4.
 4   Platforms themselves have even begun to acknowledge that such conduct is not covered by

 5   Section 230. When asked whether Section 230 gives platforms immunity from anti-
 6   discrimination laws, counsel for one of Plaintiff’s own members, Google, recently admitted that
 7   targeting information to users based on their race “has nothing to do with the content of third-
 8   party information.” Oral argument transcript at 128, Gonzalez v. Google, No. 21-1333 (U.S.),
 9   pending. Like anti-discrimination laws, the AADC regulates how companies target information
10   to kids based on their personal information. It does not impose liability for third-party content
11   itself.
12             The Ninth Circuit has also rejected Section 230 immunity for a platform defendant
13   whose design choices caused harm to young people. In Lemmon v. Snap, 995 F.3d 1085 (9th
14   Cir. 2021), plaintiffs had alleged harm from “an incentive system within Snapchat that
15   encouraged its users to . . . drive at speeds exceeding 100 MPH.” Id. at 1092–92. While the
16   platform strenuously asserted Section 230 immunity, arguing that plaintiffs sought to hold it

17   responsible for content ultimately created and posted by third-party users, the Court rejected
18   that. Id. at 1094. If a plaintiff’s claim turns on whether the platform should be treated as a
19   publisher of third-party content, or whether they improperly removed third-party content, the
20   platform can get immunity—but that’s not what the Lemmon complaint alleged. The complaint
21   alleged a legally-cognizable injury caused by negligent design of the incentive system in the
22   platform itself. And when lawsuits allege harms caused by platforms’ own negligent design
23   choices, a platform cannot invoke Section 230 liability. Id. at 1091–94; see also Erie Ins. Co. v.
24   Amazon.com, Inc., 925 F.3d 135 (4th Cir. 2019) (declining to apply Section 230 immunity in
25   suit about sale of defective goods, even though marketing copy ultimately came from third-
26   party sellers on the Amazon platform).
27

28
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 1              B. Section 230 does not preempt the AADC because it regulates how platforms
                   use children’s data to design their services and imposes no liability for
 2                 publishing third-party content.
 3           The AADC does not treat platforms as publishers of third-party content. Like suits the
 4   Ninth Circuit addressed in cases like HomeAway, Roommates.com, and Lemmon, the AADC
 5   regulates business conduct—specifically, how companies design their services using children’s
 6   data.
 7           The text of the law makes this clear. The AADC applies to platforms “when designing,
 8   developing, and providing [an] online service, product or feature.” Cal. Civ. Code §
 9   1798.99.29(a). The statute specifically calls on platforms to evaluate “how [they use] children’s
10   personal information, and the risks of material detriment to children that arise from the data
11   management practices of the business,” id. § 1798.99.31(a)(1)(B), and refers to platform design
12   in many ways including the “design elements,” § 1798.99.30(b)(4)(E), “the design of the online
13   product,” § 1798.99.31(a)(1)(B)(i)-(iv), “algorithms used by the online product,” § 1798.99.31
14   (a)(1)(B)(v), and “system design features,” § 1798.99.31 (a)(1)(B)(vii). The prescriptive
15   sections of the AADC reflect this too, focusing on platform design choices fully within platform
16   control and far from the heartland of Section 230 immunity. See §§ 1798.99.31(a)(2) (requiring
17   companies to create plans to mitigate risks created by their use of children’s personal
18   information); 1798.99.31(a)(3)–(4) (requiring certain disclosures to the Attorney General);
19   1798.99.31(a)(5) (requiring companies to estimate the age of child users); 1798.99.31(a)(6)
20   (setting requirements for default privacy settings); 1798.99.31(a)(7) (requiring disclosure of
21   privacy information); 1798.99.31(a)(8) (requiring companies inform children if they are being
22   tracked by parents); 1798.99.31(a)(9) (calling for enforcement of platform’s own terms);
23   1798.99.31(a)(10) (requiring a contact tool); 1798.99.31(b)(i)–(ii) (prohibiting other platform
24   data practices).
25           A platform would not have to remove or even demote any content to comply with these
26   requirements. Platforms could show users whatever content they like—as long as the companies
27   ensure that that they are not using children’s data to target information to them in violation of
28
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 1   the law. Indeed, a company that does not use kids’ data to target content cannot violate the key
 2   provisions of the law regardless of whether the content could cause harm to kids. Thus, like the
 3   examples discussed in the previous section, the AADC does not impose liability for third-party
 4   content—it holds platforms liable for their own conduct.

 5          The purposes of the AADC further show that the law imposes liability based on platform
 6   conduct—how a platform uses kids’ data to target information—and not on what content the
 7   platform shows children. The AADC, like many business regulations across economic sectors,
 8   seeks to address market incentives that the legislature believes currently encourage businesses
 9   to design and produce harmful products. See id. § 1798.99.29(b) (discussing “conflict . . .
10   between commercial interests and the best interests of children”). California’s motivation to
11   enact the AADC tracks with governments’ motivation to regulate businesses’ conduct across
12   economic sectors. Many business regulations address negative externalities, or situations where
13   businesses make money but cause harm to or impose costs on communities or the public while
14   doing so. And as the statute notes here, online platforms react to business incentives in ways
15   that undermine privacy rights. See Findings Section at (b)–(d). Platforms have built-in profit
16   incentives to optimize their internal platform designs not to protect privacy—of children or

17   adults—but to promote engagement. See, e.g., Gilad Edelman, How Facebook Could Break
18   Free From the Engagement Trap, Wired (Nov. 19, 2021), https://www.wired.com/story/jeff-
19   allen-interview-facebook-engagement-trap/. This is because users who spend more time on a
20   platform see more ads, which helps platforms make money. Understandably, under current
21   incentives, platforms make design choices to prioritize content that prompts people to engage
22   and spend more time on the platform. See generally Allen, Jeff, Social Media and the Spread of
23   Harmful Content, Grand Rounds in the Oakland Department of Psychiatry, 22 June 2022,
24   Oakland CA (virtual),
25   https://static1.squarespace.com/static/614cbb3258c5c87026497577/t/6389125816e7a1745103a0
26   9c/1669927516632/Social+Media+and+the+Spread+of+Harmful+Content.pdf. And as the head
27   of one of Plaintiff’s members has previously explained, the closer content grows to violating

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 1   policies against incitement to violence, promotion of self-harm, or misinformation, the more
 2   users engage. See Mark Zuckerberg, A Blueprint for Content Governance and Enforcement,
 3   Facebook (last edited May 5, 2021), http://www.facebook.com/notes/751449002072082/. When
 4   this kind of content is targeted at a child based on information the company has collected about

 5   the child and inferences the company has made from that information, the harmful effect is
 6   especially acute. It is this specific harm that the AADC protects against.
 7          Section 230 prohibits holding platforms liable for specific content posted by third
 8   parties. But Section 230 does not prevent California from regulating the incentives and business
 9   practices of the platforms, including platforms’ incentive to use a child’s personal data to entice
10   them to stay on the platform. The Court should reject arguments that Section 230 preempts the
11   AADC.
12              C. Even if Section 230 properly applied here, Plaintiff’s invocation comes at an
                   inappropriate time.
13
            This Court should reject Plaintiff’s proposed application of Section 230 for an entirely
14
     separate reason: it does not presently, and may never, face civil liability from which Section 230
15
     provides immunity.
16
            Section 230 protects platforms from a “cause of action” that “may be brought” under a
17
     state law that is “inconsistent” with the provision. 42 U.S.C. § 230(e)(3). Section 230 provides a
18
     defense to lawsuits; it does not provide the basis for facial challenges to statutes or regulations.
19
     Indeed, courts often hesitate to apply Section 230 immunity at even the pleading stage unless
20
     application of “the statute’s barrier to suit is evident from the face of the complaint.” Marshall’s
21
     Locksmith v. Google, LLC, 925 F.3d 1263, 1267 (D.C. Cir. 2019).
22
            Here, Plaintiff does not allege—nor could it—that any actions under the AADC are
23
     threatened or imminent, or even that they are likely to happen at all. While part of the AADC
24
     allows for the California Attorney General, alone, to seek civil penalties for certain violations,
25
     see Cal. Civil Code § 1798.99.35(a), any such suits cannot be brought as yet to any current
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     online service, product, or feature. See id. § 1798.99.33(b). Plaintiff speculates not only that
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 1   Defendant will imminently bring such actions, but that such actions would apply the law in
 2   ways inconsistent with Section 230. None of those things are clear. Under the circumstances,
 3   this Court should decline to apply Section 230 at this juncture.
 4      II. Data protection impact requirements do not effect an unlawful prior restraint on
            platforms.
 5
            This is a case about a privacy statute that applies tools commonly used in global data
 6
     protection frameworks to address harmful business practices targeted at children. This is not a
 7
     case about censorship or speech restrictions for similar reasons to why the AADC does not
 8
     regulate third-party content. The focus of the statute is on the assessment and mitigation of risks
 9
     caused by business’ collection and use of children’s personal data. Merely requiring a company
10
     to assess and mitigate the risks of harmful data processing is not an unconstitutional prior
11
     restraint. If the Court were to hold that the AADC framework violates the First Amendment, it
12
     could undermine a wide range of state and federal privacy laws and raise concerns about
13
     international data protection frameworks as well.
14
            Companies have tried for decades to argue that privacy laws violate their First
15
     Amendment rights. But despite their efforts, courts have generally upheld privacy regulations at
16
     the state and federal level where they do not inhibit public discussions on matters of public
17
     concern. See Neil M. Richards, Reconciling Data Privacy and the First Amendment, 52 UCLA
18
     L. Rev. 1149, 1155 (2005); Neil M. Richards, Why Data Protection Law is (Mostly)
19
     Constitutional, 56 WM. & MARY L. REV. 1501, 1505 (2015). Indeed, most privacy law
20
     provisions are common business regulations that should be subject to simple rational basis
21
     review and easily pass constitutional muster. See Richards, Reconciling Data Privacy, supra, at
22
     117374. And courts have also gone further to uphold privacy statutes that directly limit the
23
     transfer, sale, and even collection of personal information; these statutes impose a much more
24
     direct burden on speech than the impact assessment requirements in the AADC. See, e.g., NCTA
25
     v. FCC, 555 F.3d 996 (D.C. Cir. 2009) (affirming FCC regulations applying privacy regulations
26
     concerning the collection of consumer proprietary network information under 47 U.S.C. § 222);
27

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 1   TransUnion v. FTC, 267 F.3d 1138, 1142 (D.C. Cir. 2001) (upholding the Fair Credit Reporting
 2   Act ban on target marketing lists). It is not surprising that many other state and federal privacy
 3   laws have stood for decades without a significant First Amendment challenge. See, e.g., 47
 4   U.S.C. § 551 (Cable Subscriber Privacy Provisions), 18 U.S.C. § 2710 (Video Privacy

 5   Protection Act), Cal. Penal Code § 630 (California Invasion of Privacy Act), 201 Code of Mass.
 6   Reg. 17.00. Even when evaluated under the stricter Central Hudson test, these laws “directly
 7   advance” the “substantial” governmental interest in protecting the privacy and security of
 8   personal information and thus clearly satisfy the standards set forth in Central Hudson Gas
 9   Electric Corporation v. Public Service Commission of New York, 447 U.S. 557 (1980). See
10   NCTA v. FCC, 555 F.3d at 998; see also Sorrell v. IMS Health Inc., 564 U.S. 552, 596 (2011)
11   (Breyer, J., dissenting) (citing DOJ v. Reporters Comm. for Freedom of Press, 489 U.S. 749,
12   762–771 (1989)); Daniel J. Solove, A Taxonomy of Privacy, 154 U. PA. L. REV. 477, 520–22
13   (2006).
14             The AADC is on even stronger constitutional footing than other privacy laws that have
15   been in force for decades. The law not only directly advances the government’s substantial
16   interest in protecting the privacy of personal information, but also directly advances the

17   government’s substantial interest in preventing or mitigating harms to children. And the impact
18   assessments that the AADC requires are commonplace risk mitigation mechanisms that are
19   already being used by large companies and are being integrated into major global privacy
20   frameworks. Ruling that the AADC’s impact assessment requirements violate the First
21   Amendment would pose an existential threat to nearly all privacy regulations in the United
22   States.
23                A. The AADC imposes data protection requirements specifically tailored to
                     ensure businesses mitigate harmful data practices that impact children.
24
25             Most privacy and data protection laws require companies to conduct Data Protection

26   Impact Assessments (DPIAs) on certain data processing activities, particularly if those activities

27   may include large-scale, high-risk, or sensitive data processing. See, e.g., Cal. Civ. Code §

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 1   1798.185(a)(15)(B); Col. Rev. Stat. § 6-1-1309(2)(a)-(c); European Union Regulation 2016/679
 2   (General Data Protection Regulation) Art. 35; Brazil Lei Geral de Proteção de Dados (LGPD)
 3   Art. 38. These DPIAs are important tools used to evaluate data processing activities, typically
 4   including the scope and purpose of data processing and potential risks to the data subjects. See,

 5   e.g., General Data Protection Regulation Article 35; Cal. Civ. Code §1798.185(a)(15)(B); Col.
 6   Rev. Stat. § 6-1-1309(2)(a)-(c). These assessments ultimately focus on commercial conduct, a
 7   business’s policies and practices for collecting, using, storing, and transferring personal data,
 8   and not on traditionally expressive conduct.
 9          The DPIAs required by the AADC are specifically tailored to assess “the purpose of the
10   online service, product, or feature, how it uses children’s personal information, and the risks of
11   material detriment to children that arise from the data management practices of the business.”
12   Cal. Civ. Code § 1798.99.31(a)(1)(B). Additional items that the applicable business must
13   address in the assessment include potential harms stemming from the design of the product,
14   service, or feature, algorithms used in the product, service, or feature, targeted advertising
15   systems used by the product, service, or feature, and sensitive data processing. Cal. Civ. Code §
16   1798.99.31(a)(1)(B)(i-viii). These requirements are not directed at specific speech or expressive

17   conduct. The only mention of “content” in the statute is in the list of considerations for
18   businesses conducting the assessments, and even there it is the design of the system that must be
19   evaluated, not the content itself. Cal. Civ. Code § 1798.99.31(a)(1)(B)(i).
20          The AADC establishes an audit and assessment process that requires businesses to
21   evaluate risks that their services and data collection systems could pose to children. The law sets
22   forth what questions must be asked but does not presuppose the answers to those questions. And
23   if a risk is revealed in the course of conducting the DPIA, the practice is not automatically
24   prohibited—the business is tasked with creating a plan to mitigate or eliminate the risk
25   generated by the processing activity. Cal. Civ. Code § 1798.99.31(a)(2). Again, this requirement
26   does not mandate a specific action (or require “self-censorship”) but encourages businesses to
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 1   improve the design of their processing activity to lessen risks to data subjects. Id. It is left up to
 2   the business how and to what extent the risk will be mitigated or eliminated.
 3           Even the mitigation requirement of the AADC will only apply in a narrow range of cases
 4   where a business finds a “risk of material detriment to children that arises from the data

 5   management practices of the business identified in the Data Protection Impact Assessment.” Id.
 6   Indeed, the only prohibitions in the statute are prohibitions on use, collection, or transfer of
 7   children’s personal information. Cal. Civ. Code § 1798.99.31(b).
 8               B. Data protection impact assessments are already commonplace for large
                    online services and have long been integrated into global privacy
 9                  frameworks and standards.
10           This challenge to the use of DPIAs does not occur in a vacuum. DPIAs are a routine and

11   common data protection tool in privacy legislation both within the U.S. and globally. Several

12   U.S. state laws require in-scope businesses to complete DPIAs for existing and new processing

13   activities. See, e.g., Cal. Civ. Code § 1798.185(a)(15)(B); Va. Code Ann. § 59.1-576(A)(1-5);

14   Col. Rev. Stat. § 6-1-1309(2)(a)-(c); Conn. Gen. Stat. Chapter 743jj § 42-552. Internationally,

15   privacy and data security laws frequently mandate regular DPIAs. See, e.g., General Data

16   Protection Regulation Art. 35; United Kingdom General Data Protection Regulation Art. 35;

17   Brazil LGPD Art. 38; Abu Dhabi Global Market Data Protection Regulations 2021 Section 34;

18   Mauritius Data Protection Act 2017 Section 34; South Africa Protection of Personal

19   Information Act Section 4(b).

20           As recognized by many of these regulations and accompanying guidance, DPIAs are

21   essential privacy tools that aid the applicable business in demonstrating compliance with legal

22   obligations, assessing data collection and processing practices, and identifying risks. See, e.g.,

23   United Kingdom Information Commissioner’s Office Data Protection Impact Assessments

24   Guidance; General Data Protection Regulation Art. 35 and Recital 90. By requiring businesses

25   to carefully evaluate the structure, necessity, and impact of a processing activity prior to

26   deployment, DPIAs put into action key privacy principles, including accountability, data

27   minimization, and privacy by design. See United Kingdom Information Commissioner’s Office

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 1   Data Protection Impact Assessments Guidance. Consistent DPIA use trains staff involved in
 2   designing projects to consider privacy in early stages, which both produces better privacy
 3   outcomes and prevents the business from wasting time and resources on shutting down or fixing
 4   ill-considered, harmful, or non-compliant practices after they are already in use.

 5          These assessments are also critical tools for both enforcement bodies and businesses in
 6   enforcement proceedings. Enforcement authorities often review DPIAs as part of an
 7   enforcement investigation, particularly as a method of confirming whether businesses have
 8   made appropriate effort to comply with applicable regulations. On the business side, DPIAs
 9   allow businesses to “show their work” and prove to authorities that businesses are aware of their
10   privacy obligations and carefully considering them in every stage of service, product, or feature
11   development.
12          A business can also publish the assessments to promote consumer trust. In the event that
13   a problem arises, businesses can point to DPIAs to demonstrate that they have carefully
14   considered consumer interests and attempted to reduce or remove negative impacts as much as
15   possible. DPIAs also may allow consumers to better understand how and why their information
16   is being used.

17          DPIAs are a key privacy compliance and assessment tool internationally and an integral
18   component of many privacy compliance and enforcement regimes. Invalidating this tool poses a
19   threat to U.S. and international privacy rights and would put California out of step with privacy
20   regulations throughout the U.S. and the world.
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 1                                            CONCLUSION
 2          For the foregoing reasons, Amici ask this Court to deny Plaintiff’s request for a
 3   preliminary injunction.
 4
     Dated: April 28, 2023                        Respectfully submitted,
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